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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION


 UNITED STATES OF AMERICA                                                          PLAINTIFF


  V.
                                      CAUSE NO: 4:20-CR-17-TWP-VTW

 CHRISTOPHER HILL                                                                DEFENDANT

                                      Electronically Filed


  DEFENDANT’S UNOPPOSED MOTION TO CONTINUE INITIAL HEARING ON THE
                  SECOND SUPERSEDING INDICTMENT

                                      *****    *****     *****

        Comes the Defendant, CHRISTOPHER HILL, by his appointed counsel, and moves this

 Court to continue the time of the scheduled Initial Hearing on the Second Superseding Indictment

 in the above-styled action. As grounds, the Defendant states as follows:

        1. That the above-named Defendant is charged in a Second Superseding Indictment for

 knowingly possessing with intent to distribute 50 or more grams of methamphetamine, as

 proscribed by 21 U.S.C. Section 841(a)(1) and (b)(1)(A)(viii) [DN 40].

        2. The Defendant desires to participate in the currently scheduled virtual Initial Hearing;

 however, undersigned counsel has a calendar conflict and requests rescheduling the time of this

 Hearing to 11:30 A.M. on September 28, 2022.

        3. The representative of the United States has no opposition to this Motion to Continue the

 time of the Initial Hearing.
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                                      Respectfully submitted,

                                      s/LARRY D. SIMON
                                      LARRY D. SIMON
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                                      CERTIFICATION

        I hereby certify that on September 15, 2022, a copy of the foregoing Motion to Continue

 the Initial Hearing was filed electronically. Service of this filing will be made on all ECF-

 registered counsel by operation of the court’s electronic filing system. Parties may access this

 filing through the court’s system.

                                                            s/LARRY D. SIMON
                                                            LARRY D. SIMON
